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PROB 22                                                                                                                 DOCKET NUMBER(TranCourt)
(Rev. 2/88)
                                                                                                                           1:20CR10100-1
                           TRANSFER OF JURISDICTION                                                                     DOCKET NUMBER(Rec. Court)

                                                                                                                   i'P3-<ir--oS-LYh-c \
NAME AND ADDRESS OF PROBATIONER/SUPERVISED RELEASEE                     DisracT                                    DIVISION
                                                                            District of Massachusetts

Jonathan Nguyen                                                              NAME OF SENTENCING JUDGE

                                                                                             Honorable Allison D. Burroughs
                                                                             DATES OF PROBATION/          FROM                     TO
                                                                             SUPERVISED RELEASE
                                                                                                              12/10/2021                12/10/2023
OFFENSE

Conspiracy to Commit Wire Fraud, Access Device Fraud, and Identity Theft, in violation of 18 USC § 371




PART 1 - ORDER TRANSFERRING JURISDICTION


UNITED STATES DISTRICT COURT FOR THE                                         DISTRICT OF              Massachusetts



          IT IS HEREBY ORDERED that, pursuant to 18 U.S.C. 3606,thejurisdiction ofthe probationer
    or supervised releasee named above be transferred vvith the records ofthis Court to the United States
    District Court for the District of New Hampshire                             upon that Court’s order
    of acceptance ofjurisdiction. This Court hereby expressly consents that the period of probation or
    supervised release may be changed by the District Court to which this transfer is made without further
    inquiry of this court. *


                                 1/11/2022
                                       Date                                                         United States District Judge
                                                                                                                                          VJ
*This sentence may be deleted in the discretion ofthe transferring Court.
PART 2- ORDER ACCEPTING JURISDICTION


 UNITED STATES DISTRICT COURT FOR THE                                        DISTRICT OF             New Hampshire



         IT IS HEREBY ORDERED thatjurisdiction over the above-named probationer/supervised
    releasee be accepted and assumed by this Court from and after the entry ofthis order.




    January 12, 2022                                                                       7^^
                Effective Date                                                        United Stal      'istrict Judge
